109 F.3d 1502
    John DOE, Ph.D., and all others similarly situated,Plaintiffs-Appellants,v.LAWRENCE LIVERMORE NATIONAL LABORATORY, John Nuckolls,Director, Defendants.andThe Regents of the University of California, Defendant-Appellee.
    No. 93-16792.
    United States Court of Appeals,Ninth Circuit.
    April 7, 1997.
    
      On Remand from the Supreme Court of the United States.
      Before: CHOY, CANBY, and T.G. NELSON, Circuit Judges.
    
    ORDER
    
      1
      The order of this court filed herein on March 24, 1997 is withdrawn.
    
    
      2
      The parties shall file supplemental briefs limited to the Section 1983 issue, appellants' brief to be filed within 14 days of the filing of this order, appellees' brief to be filed within 14 days of the filing of appellants' brief, and appellants' reply brief to be filed within 14 days of the filing of appellees' brief.
    
    